        Case 3:20-mc-00043-B Document 1 Filed 06/15/20                  Page 1 of 1 PageID 14



                              UNITED STATES DISTRICT COURT
                           FOR THE NORTHERN DISTRICT OF TEXAS

To:    A Member of the Bar of the Northern District of Texas Who May be Subject to Disciplinary
       Action


                         Notice of Intent to Impose Reciprocal Discipline and
                             Standing Order for Counsel to Show Cause


       A summary or copy of a sanction imposed against you is attached to this order. Reciprocal discipline

will be imposed in this court under LR 83.8(a) and (h) and LCrR 57.8(a) and (h) unless you show cause

within 14 days of the date of this order why such penalty should not be imposed. If you are a registered

user of the Electronic Case Files (ECF) system in this court, the clerk will serve this order electronically,

and you may use ECF to file your response electronically in the case number shown at the top of this order.


       If you do not file a response within the time allowed, or if you respond but do not oppose reciprocal

discipline, the clerk is directed to impose the same sanction in this court, which will run concurrently with

the sanction shown in the attachment, and, if applicable, to disable your ECF user account. If the sanction

imposed was a suspension and you wish to seek reinstatement following the suspension, the clerk is

authorized to reinstate you to the bar of this court and to reactivate your ECF user account if you file a

request for reinstatement in this case, along with a valid Certificate of Good Standing issued by the highest

court of any state or the District of Columbia and a declaration, signed and sworn under penalty of perjury,

that no attorney disciplinary matter is pending against you.


       SO ORDERED.
